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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    In re:                                                      §
                                                                §   Chapter 11
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                §   Case No. 19-34054-sgj11
                                                                §
                                    Reorganized Debtor.
                                                                §
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                §   Adversary Proceeding No.
                                    Plaintiff,                  §
                                                                §   21-03003-sgj
    vs.                                                         §
                                                                §
    JAMES DONDERO,                                              §
                                                                §
                                    Defendant.                  §




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  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                                PLAINTIFF’S SECOND AMENDED
                            NOTICE OF DEPOSITION OF ALAN JOHNSON

         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of Civil

Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Highland Capital Management, L.P. (“Plaintiff” or the “Reorganized

Debtor”), the plaintiff in the above-referenced adversary proceeding and the reorganized debtor

in the above-captioned chapter 11 case, will take the deposition of Alan Johnson in connection

with the above-referenced adversary proceeding on November 2, 2021, commencing at 9:00 a.m.

(Central Time), or at such other day and time as Plaintiff determines upon reasonable notice. The

deposition will be taken under oath before a notary public or other person authorized by law to

administer oaths.

         The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com for more information regarding participating in this deposition remotely.




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 Dated: October 28, 2021.          PACHULSKI STANG ZIEHL & JONES LLP
                                   Jeffrey N. Pomerantz (CA Bar No.143717)
                                   Ira D. Kharasch (CA Bar No. 109084)
                                   John A. Morris (NY Bar No. 2405397)
                                   Gregory V. Demo (NY Bar No. 5371992)
                                   10100 Santa Monica Blvd., 13th Floor
                                   Los Angeles, CA 90067
                                   Telephone: (310) 277-6910
                                   Facsimile: (310) 201-0760
                                   E-mail:     jpomerantz@pszjlaw.com
                                               ikharasch@pszjlaw.com
                                               jmorris@pszjlaw.com
                                               gdemo@pszjlaw.com
                                   -and-
                                   HAYWARD PLLC

                                   /s/ Zachery Z. Annable
                                   Melissa S. Hayward
                                   Texas Bar No. 24044908
                                   MHayward@HaywardFirm.com
                                   Zachery Z. Annable
                                   Texas Bar No. 24053075
                                   ZAnnable@HaywardFirm.com
                                   10501 N. Central Expy, Ste. 106
                                   Dallas, Texas 75231
                                   Tel: (972) 755-7100
                                   Fax: (972) 755-7110
                                   Counsel for Highland Capital Management, L.P.




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